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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CONRAD SMITH, et al.,

                        Plaintiffs,

                v.                                    Civil Action No. 1:21-cv-02265-APM

 DONALD J. TRUMP, et al.,

                        Defendants.



                    FINAL ORDER ISSUING A SUBPOENA TO
            THE NATIONAL ARCHIVES AND RECORDS ADMINISTATION

       Before the Court is Plaintiffs’ Motion for a Final Order Issuing a Subpoena to the National

Archives and Records Administration (“NARA”). NARA takes no position on Plaintiffs’ motion.

Defendant Trump does not oppose the motion.

       It is hereby ORDERED that, pursuant to 44 U.S.C. § 2205(2)(A) and 36 C.F.R.

§ 1270.44(a)(1), NARA is directed to release records responsive to the subpoena annexed to this

Order, subject to any asserted rights, defenses, or privileges.

       SO ORDERED this ____ day of ____, 2024.

                                                     Amit              Digitally signed
                                                                       by Amit Mehta

                                                     Mehta             Date: 2024.08.31
                                                                       08:19:02 -04'00'
                                                               AMIT P. MEHTA
                                                           United States District Judge
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Columbia
                                                                             of __________
                    CONRAD SMITH, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:21-cv-02265-APM, FRQVROLGDWHGZLWK
                                                                                                        FY$30
                                                                              )
                  DONALD J. TRUMP, et al.                                     )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                 National Archives and Records Administration

                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Please see attached requests for production.



 Place: Lawyers' Committee for Civil Rights Under Law                                   Date and Time:
          1500 K. St. NW Ste 900,                                                                            05/13/2024 5:00 pm
          Washington, DC 20005

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/12/2024

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:
Elizabeth H. Snow, pro hac vice, Selendy Gay PLLC, 1290 Avenue of the Americas, New York, NY 10104,
esnow@selendygay.com, 212-390-9000
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:21-cv-02265-APM,

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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              Exhibit $
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                                            EXHIBIT A

                                          DEFINITIONS

The following definitions are incorporated by reference into each Request below:

        1.     The singular form of a word includes the plural, and vice versa.

        2.     Any tense of a verb includes all tenses.

        3.     Any natural person includes that person’s agents, assigns, attorneys, employees,

representatives, and successors.

        4.     Any entity other than a natural person includes (a) that entity’s present and former

agents, affiliates (foreign or domestic), assigns, attorneys, consultants, directors, divisions, em-

ployees, officers, parents, predecessors, representatives, servants, subsidiaries, and successors;

(b) any person or entity, directly or indirectly, wholly or in part, associated with, controlled by, or

owned by that entity; (c) and any other person or entity acting or purporting to act on behalf of

(a) or (b).

        5.     “All,” “any,” and “each” mean any and all.

        6.     “And” and “or” are construed both conjunctively and disjunctively.

        7.     “Certification” means the certification of the official results of the votes of the pres-

idential electors in the United States presidential elections, pursuant to the 12th Amendment to the

United States Constitution, the Electoral Count Act of 1887, 3 U.S.C. § 15, and related federal

laws.

        8.     “Communication” means every manner of the transmission of information in the

form of facts, ideas, inquiries, or otherwise, whether person-to-person, in a group, orally, in writ-

ing, by telephone, by electronic transmission, or otherwise.

        9.     “Defendant” means any defendant in the above-captioned case, including, for the

avoidance of doubt, Donald J. Trump, Donald J. Trump for President, Inc., Make America Great
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Again PAC, Stop the Steal LLC, Proud Boys, Proud Boys International, LLC, Enrique Tarrio,

Ethan Nordean, Joseph R. Biggs, Zachary Rehl, Charles Donohoe, Dominic J. Pezzola, Oath Keep-

ers, Stewart Rhodes, Thomas E. Caldwell, Jessica Watkins, Kelly Meggs, Alan Hostetter, Russell

Taylor, Erik Scott Warner, Felipe Antonio “Tony” Martinez, Derek Kinnison, and Ronald Mele.

       10.     “Document” means “document” and “electronically stored information” as defined

in the Federal Rules of Civil Procedure 34(a)(1)(A). A draft or non-identical copy is a separate

document within the meaning of this term.

       11.     “Eighty Percent Coalition Rally” means the demonstration held on January 5, 2021

at Freedom Plaza located near 4th St. and Pennsylvania Ave. in Washington, D.C.

       12.     “Identify” means (a) with respect to persons, to give, to the extent known, the per-

son’s full name, present or last known address, and when referring to a natural person, additionally,

the present or last known place of employment; (b) with respect to Documents, either (i) to give,

to the extent known, the (A) type of document; (B) general subject matter; (C) date of the docu-

ment; and (D) author(s), addressee(s) and recipient(s); or (ii) to produce the Documents, together

with sufficient identifying information to satisfy Federal Rule of Civil Procedure 33(d).

       13.     “Including” means including but not limited to.

       14.     “January 6, 2021” means the events of January 6, 2021 in Washington, D.C., in-

cluding the Save America Rally and the subsequent march to, attack on, and occupation of the

U.S. Capitol, including the violent acts of Defendants as alleged in the Amended Complaint.

       15.     “November 2020 Presidential Election” means the election held on November 3,

2020 between Defendant Trump and Joseph R. Biden.

       16.     “Regarding” means (directly or indirectly, partially or wholly) about, alluding to,

assessing, bearing upon, commenting upon, comprising, confirming, connected to, considering,



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containing, contradicting, dealing with, discussing, embodying, evaluating, evidencing, identify-

ing, in connection with, indicating, in respect of, involving, memorializing, mentioning, noting,

pertaining to, probative of, proving, recording, reflecting, referring to, regarding, relating to, re-

porting on, reviewing, setting forth, supporting, suggesting, summarizing, stating, showing, touch-

ing upon, a subject, or having been created, generated, or maintained in connection with or as a

result of that subject.

         17.    “Request” means any of these requests.

         18.    “Save America Rally” means the “Save America” event held at the Ellipse in Wash-

ington, D.C. on January 6, 2021.

         19.    “U.S. Capitol” means the meeting place of the United States Congress and seat of

the legislative branch of the U.S. federal government, located at First St. SE, Washington, D.C.

20004.

         20.    “You” or “Your” means the National Archives and Records Administration.

                                            REQUESTS

         1.     All Documents and Communications regarding the organizing, planning, fundrais-

ing, security, or budgeting for the Eighty Percent Coalition Rally or the Save America Rally, in-

cluding any permit applications, plans for a march to the U.S. Capitol, speakers or possible speak-

ers, and any drafts thereof, provided to the National Archives by the following individuals:

                a.        Donald J. Trump

                b.        Ivanka Trump

                c.        Jared Kushner

                d.        Eric Trump

                e.        Donald J. Trump, Jr.

                f.        Mark Meadows

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              g.         Daniel “Dan” Scavino, Jr.

              h.         John McEntee

              i.         Kayleigh McEnany

              j.         Cassidy Hutchinson

              k.         Hope Hicks.

       2.     All Documents and Communications regarding efforts to get Defendant Trump to

issue statements regarding violence on January 6, 2021, provided to the National Archives by the

following individuals:

              a.         Donald J. Trump

              b.         Ivanka Trump

              c.         Jared Kushner

              d.         Eric Trump

              e.         Donald J. Trump, Jr.

              f.         Mark Meadows

              g.         Daniel “Dan” Scavino, Jr.

              h.         John McEntee

              i.         Kayleigh McEnany

              j.         Cassidy Hutchinson

              k.         Hope Hicks

              l.         Joseph Keith Kellogg, Jr.

              m.         Eric Herschmann

              n.         Anthony “Pat” Cipollone

              o.         Cassidy Hutchinson.




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        3.    All Documents and Communications regarding briefing materials provided to the

White House regarding the events of January 6, 2021 between December 19, 2020 and January 7,

2021.

        4.    All Documents and Communications regarding briefing materials provided to the

White House regarding the potential for violence in Washington, D.C. on January 5, 2021 and/or

January 6, 2021, between December 19, 2020 and January 7, 2021.

        5.    All Documents and Communications regarding supposed fraud in the November

2020 Presidential Election, including regarding purported attempts to steal the November 2020

Presidential Election, or the November 2020 Presidential Election being stolen, provided to the

National Archives by the following individuals:

              a.      Donald J. Trump

              b.      Ivanka Trump

              c.      Jared Kushner

              d.      Eric Trump

              e.      Donald J. Trump, Jr.

              f.      Mark Meadows

              g.      Daniel “Dan” Scavino, Jr.

              h.      Hope Hicks

              i.      Eric Herschmann

              j.      Anthony “Pat” Cipollone

              k.      Cassidy Hutchinson

              l.      Peter Navarro

              m.      John McEntee.




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       6.      All Documents and Communications regarding the Certification of November 2020

Presidential Election on January 6, 2021, including regarding the purported ability of the U.S.

Congress to reject state electors, provided to the National Archives by the following individuals:

               a.     Donald J. Trump

               b.     Ivanka Trump

               c.     Jared Kushner

               d.     Eric Trump

               e.     Donald J. Trump, Jr.

               f.     Mark Meadows

               g.     Daniel “Dan” Scavino, Jr.

               h.     John McEntee

               i.     Kayleigh McEnany

               j.     Cassidy Hutchinson

               k.     Hope Hicks

               l.     Joseph Keith Kellogg, Jr.

               m.     Eric Herschmann

               n.     Anthony “Pat” Cipollone

               o.     Peter Navarro

               p.     John McEntee.

       7.      All Documents and Communications generated after November 6, 2021, regarding

any strategy to overturn the results of the November 2020 Presidential Election, or for enabling

then President Trump to remain in office as President after January 20, 2022, including all related

memoranda, provided to the National Archives by the following individuals:

               a.     Donald J. Trump

               b.     Ivanka Trump

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     c.    Jared Kushner

     d.    Eric Trump

     e.    Donald J. Trump, Jr.

     f.    Mark Meadows

     g.    Eric Herschmann

     h.    Anthony “Pat” Cipollone

     i.    Cassidy Hutchinson

     j.    Peter Navarro

     k.    John McEntee.




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